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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION


REIYN KEOHANE,                         :
                                       :
       Plaintiff,                      :
                                       :
v.                                     :     Case No. 4:24-cv-434
                                       :
RICKY D. DIXON, in his                 :
official capacity as Secretary         :
of the Florida Department of           :
Corrections; CLAYTON WEISS             :
in his official capacity as Health     :
Services Director of the Florida       :
Department of Corrections;             :
GARY HEWETT, in his official           :
capacity as Warden of                  :
Wakulla Correctional Institution,      :
                                       :
       Defendants.                     :


                     DECLARATION OF DANIEL B. TILLEY

       1.     I, Daniel B. Tilley, am over the age of 18 and am fully competent to

testify regarding the contents of this Declaration, which I make based upon my

personal knowledge.

       2.     I am an attorney for the ACLU Foundation of Florida representing

Plaintiff in this matter.
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      3.     Attached as Exhibit 2 to Plaintiff’s Motion for Temporary Restraining

Order is a true and accurate copy of the 2017 version of Florida Department of

Corrections (“FDC”) Procedure 403.012. I obtained this document from FDC.

      4.     Attached as Exhibit 3 to Plaintiff’s Motion for Temporary Restraining

Order is a true and accurate copy of the 2019 version of FDC Procedure 403.012. I

obtained this document from FDC.

      5.     Attached as Exhibit 4 to Plaintiff’s Motion for Temporary Restraining

Order is, upon information and belief, a true and accurate copy of FDC Health

Services Bulletin 15.05.23. I obtained this document from an inmate.

      6.     Attached as Exhibit 5 to Plaintiff’s Motion for Temporary Restraining

Order is a composite exhibit consisting of a grievance Plaintiff filed and the response

she received. I obtained these documents from Plaintiff.

      7.     Attached as Exhibit 6 to Plaintiff’s Motion for Temporary Restraining

Order is FDC’s opening appellate brief in the prior litigation. Keohane v. Jones, 4:16-

cv-511-MW-CAS (N.D. Fla.).

      8.     Inmates I spoke to from Wakulla Correctional Institution, Dade

Correctional Institution, and Lake Correctional Institution say they were told that

treatment for gender dysphoria was changing in accordance with FDC Health

Services Bulletin 15.05.23. Based on information from these inmates, I estimate that

120 or more inmates were summoned to be notified of these changes.

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      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.

Dated: 10/25/24                       /s/ Daniel B. Tilley
                                      Daniel B. Tilley




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